






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00481-CR







In re Luis Noguez







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 98-0505, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Luis Noguez seeks to appeal an order denying his motion for post-conviction DNA
testing.  The motion was denied on June 23, 2005.  The notice of appeal was filed on
September&nbsp;30,&nbsp;2005.  Because the notice of appeal was not timely, we lack jurisdiction to dispose
of the purported appeal in any manner other than by dismissing it for want of jurisdiction.  See
Slaton&nbsp;v. State, 981&nbsp;S.W.2d 208 (Tex. Crim. App.1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex.&nbsp;Crim. App. 1996).  The appeal is dismissed.


				__________________________________________

				Diane Henson, Justice

Before Chief Justice Law, Justices Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   August 31, 2007

Do Not Publish  


